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Tesla whistleblower claims company is 'doing everything
it can to silence me'
The electric carmaker is suing a former technician for alleged hacking, but he says he’s
being scapegoated for leaking concerns

Julia Carrie Wong in San Francisco
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On Wednesday morning, Martin Tripp was an out-of-work Tesla technician trying to ﬁgure out
what to do next.

By the end of the day, he had been sued by his former employer for alleged hacking and theft,
engaged in a hostile email exchange with Elon Musk, come out as a whistleblower, and was being
patted down by sheriﬀ’s deputies over allegations that he was threatening to go to his former
workplace and “shoot the place up”.

“I’m a scapegoat because I provided information that is absolutely true,” Tripp told the Guardian
on Wednesday evening. “This is obscene … It feels like I have no rights as a whistleblower.”
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On Thursday, after the local sheriﬀ’s oﬃce had announced that there was no credible threat to the
Gigafactory, Tripp commented further: “They’re trying to do everything they can to silence me
and trying to set an example so that no one else will talk to the press.”

Tripp’s dispute with the electric car company erupted into a high-stakes round of he-said/Tesla-
said when it ﬁled a federal lawsuit against him on Wednesday.

The suit alleged that Tripp had “unlawfully hacked” Tesla’s manufacturing operating system
(MOS) – writing code that would export conﬁdential information to third parties and planting the
code on three diﬀerent computer systems such that other employees would be “falsely implicated
as guilty parties”.




Martin Tripp was sued by Tesla for hacking and theft. He says he’s
actually a whistleblower. Photograph: Courtesy of Martin Tripp

The complaint also accused Tripp of making “false claims to the media about the information he
stole”, and speciﬁcally referenced claims about punctured battery cells, excess scrap material and
manufacturing delays.

But Tripp, a former process technician at Tesla’s Gigafactory in Nevada, told the Guardian that he
leaked information to a reporter at Business Insider because no one at the company was listening
to his concerns.

“When it’s world impactful, when you’re lying to the world and investors about the cars you’re
producing and how sustainable you are, when you’re saying one thing and doing another, the
righteous thing is for the world to know,” Tripp said by phone.
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Tesla has rejected Tripp’s claim to be a whistleblower and challenged the accuracy of the
information he provided to Business Insider.

In an email to the Guardian about Tripp’s whistleblower claim on Wednesday afternoon, Musk
wrote that Tripp “sent me a threatening email” and that “we received a call at the Gigafactory that
he was going to come back and shoot people”.

Tesla subsequently released a statement saying the company had “received a phone call from a
friend of Mr Tripp” warning that Tripp was going to “shoot the place up”. The company alerted
the police and increased security at the factory. Sheriﬀ’s deputies met Tripp at his hotel and
questioned him.

Tesla has said it would not provide further information, while the Storey county sheriﬀ’s oﬃce
said it was investigating “the threat’s origin”.

The lawsuit capped an already strange news cycle for Tesla and its chief executive, Elon Musk.

In an email to Tesla employees sent on Sunday evening, Musk wrote that he had just learned that
a Tesla employee had engaged in “quite extensive and damaging sabotage to our operations”
which included “making direct code changes” to the MOS and transferring data to third parties.

Musk went on to say that the alleged saboteur could be an agent of one of the “long list of
organizations that want Tesla to die”, including short-sellers, the fossil fuel industry and rival car
manufacturers.

In a second email sent on Monday, Musk referenced a small ﬁre at the company’s Fremont factory
and again appeared to stoke suspicions of sabotage, writing: “Could just be a random event, but
as Andy Grove said, ‘Only the paranoid survive.’” The emails were ﬁrst reported by CNBC.

Though Musk never named Tripp in his emails, the allegations of hacking the MOS are similar,
and many news outlets identiﬁed Tripp as the “alleged saboteur” once the lawsuit was ﬁled.

Tripp says that any suggestions that he was a saboteur are “ﬂat-out lies”.

“I’ve never gone to any outside company, any oil industry people,” he added. “I care about the
public and safety.”




A Tesla at a charging point in Beijing, China. Photograph: Thomas
Peter/Reuters
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A 40-year-old US navy veteran, Tripp started working for Tesla in October 2017. “I left a really god
job and condo in Milwaukee … because I thought I was going to do something good for the world,
accelerating the world’s sustainability,” he said, referencing Tesla’s corporate mission.

Tripp conceded that he had diﬃculty adjusting to Tesla’s workplace culture, but he denied a claim
by Musk that he had acted out of anger over not receiving a promotion.

Instead, he said, he grew increasingly concerned about a range of issues that were eventually
reported on by Business Insider, including high rates of “nonconforming material” that ended up
being wasted and a batch of battery cells that were mistakenly punctured.

“I kept bringing this up to management, supervisors, anyone who would listen,” Tripp said.
“Everyone just said, ‘Yeah, whatever.’”

Tripp acknowledged that he provided information from Tesla’s MOS to Business Insider, but said
that there was no “hacking” involved; he claimed that he simply queried the database to provide
veriﬁcation of his claims to the reporter.

“I’m not that smart,” Tripp said. “I don’t know how to code. I tried to teach myself to code and I
don’t have the patience.”

Tripp also said he did not understand a claim by Tesla that he tried to implicate other employees
by planting code on diﬀerent computers – allegations he said were made to him during Tesla’s
investigation.

The accusations came up again in the heated email exchange shared by both Musk and Tripp with
the Guardian, after Tripp found out that he was being sued.

Tripp: “Don’t worry, you have what’s coming to you for the lies you have told to the public and
investors.”

Musk: “Threatening me only makes it worse for you”

Tripp: “I never made a threat. I simply told you that you have what’s coming. Thank you for this
gift!!!!”

Musk: “You should be ashamed of yourself for framing other people. You’re a horrible human being.”

Tripp: “I NEVER ‘framed’ anyone else or even insinuated anyone else as being involved in my
production of documents of your MILLIONS OF DOLLARS OF WASTE, Safety concerns, lying to
investors/the WORLD. Putting cars on the road with safety issues is being a horrible human being!”

Musk: “There are literally injuries[sic] with Model 3. It is by far the safest car in the world for any
midsize vehicle. And of course a company with billions of dollars in product is going to have millions
of dollars in scrap. This is not news.

“However, betraying your word of honor, breaking the deal you had when Tesla gave you a job and
framing your colleagues are wrong and some come with legal penalties. So it goes. Be well.”

Musk told the Guardian by email: “He initiated the email exchange this morning at 8.57am. I
certainly would not have initiated contact, nor would I even know his personal email address, and
it was probably unwise for me to have responded.”
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Tripp said that he did not intend his email as a threat. “All I meant by ‘you’re going to get what
you have coming’ is that the truth is going to come out.”

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